






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00121-CV






Mary Ayala, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT

NO. D-1-F-07-004538, HONORABLE ORLINDA NARANJO, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Mary Ayala appeals a decree terminating her parental rights.  The decree was based
on a jury's finding that termination was in her children's best interest.  Ayala contends that the
evidence was legally and factually insufficient to support a finding that clear and convincing
evidence supported termination.  She also contends that the trial court erred by refusing to submit
jury questions concerning conservatorship.  We will affirm the trial court's judgment.


FACTUAL AND PROCEDURAL BACKGROUND

		At approximately 10 p.m. on July 31, 2007, Austin Police Department officer
Evonne&nbsp;McGuire responded to a report of a stabbing at Ayala's home.  When Officer McGuire
entered the home, she observed that the electricity was off and that the only source of light was an
open refrigerator powered via an extension cord running onto a neighbor's property.  McGuire made
contact with Lorena Torres, Ayala's sister, who claimed that she had stabbed herself in the thigh. (1) 
McGuire then made contact with Ayala, who was in a bedroom with her three children:  B.M., who
was six years old at the time; I.M., who was nearly five; and A.M., who was approximately three and
a half.  Ayala was approximately twenty-three years old at the time and was eight months pregnant
with her fourth child, J.C.

		Ayala told McGuire that she had been at the house all day with her extended family
and with her boyfriend, Jorge Centeno Patino, who had fled before McGuire arrived because he had
recently been arrested for assaulting Ayala and wanted to avoid another encounter with law
enforcement. (2)  Because there had been a stabbing in the home and because the utilities were off,
Officer McGuire called the Child Protective Services ("CPS") division of the Texas Department of
Family and Protective Services ("the Department").  A CPS investigator arrived at the home at
approximately 1:45 a.m., at which time she found B.M. sleeping on the floor and I.M. and A.M.
sleeping on mattresses on the floor.  The investigator inspected the kitchen and found very little food
in it.  She spoke with Ayala, who told her that the children had been in the living room adjacent to
the kitchen when Torres was stabbed.  Ayala signed a "safety plan" (3) in which she agreed to (1) have
the utilities turned back on the following day, (2) allow no physical violence in her home, and
(3)&nbsp;allow no contact between her children and certain of her adult relatives.

		Later the same day, a different CPS investigator, Amelia Chavez, visited Ayala's
home.  Ayala was not there, purportedly because she was out trying to have her utilities turned back
on, but her mother, Janie Torres, was.  Chavez interviewed Torres, who indicated that her daughter
Lorena had stabbed herself the previous night and that Lorena's children had been removed by the
Department approximately four or five years earlier because of Lorena's drug use.  Chavez also
interviewed B.M., who indicated that she was aware of the previous night's violence and stated that
she was sad because the lights did not work.  Chavez also observed I.M. and A.M., noting that their
verbal skills seemed underdeveloped.  Before departing, Chavez told Torres that no one else should
be allowed in the house before Chavez returned and interviewed Ayala.

		Chavez did so on August 3, 2007.  After discussing the events of July 31, Ayala
agreed to sign a second safety plan that stated her boyfriend and extended family were not allowed
in the home.  Chavez walked through the home and noticed that it was dirty and infested with
cockroaches.  She also noticed that the toilets were filled with human waste even though they were
not functioning because the water was turned off.  Chavez referred Ayala to various non-profit
organizations that could assist her with escaping domestic violence and paying her utility bills.

		On August 14, 2007, police were again called out to Ayala's home for a domestic-violence dispute.  Ayala's boyfriend, Jorge Centeno Patino, alleged that one of Ayala's sisters had
thrown a glass at him and attempted to choke him.  Ayala and her children were present at the time
of the incident.  The police made no arrests but indicated in their report that they had been called out
to Ayala's home many times.  

		Later the same day, a CPS investigator went to the home.  Ayala was not home, but
her mother and children were.  Yet another safety plan was put into place, this one apparently signed
by Ayala's mother, that again stated no one should be in the home besides Ayala, her mother,
and&nbsp;her&nbsp;children. 

		On August 17, 2007, a CPS caseworker visited the home.  Ayala was once again
not&nbsp;there, and her mother was at the home caring for the children.  The utilities still had not
been&nbsp;turned on.

		On August 29, 2007, the Department received a referral (the source is not identified
in the record) alleging that Mr. Centeno Patino had physically abused Ayala and her children.  An
employee of Travis County Children's Services visited Ayala's home.  Ayala was once again not
there; she was at the hospital visiting her son J.C., who had been born prematurely five days earlier. (4) 
Centeno Patino was apparently at the home, however, in violation of the safety plans that had been
put in place.  The Children's Services employee who was visiting noticed that Ayala's children had
lice.  Their lice problem was longstanding, having first come to the Deparment's attention in April&nbsp;of
2007, and was apparently partially responsible for B.M. missing more than 40 days of school
that&nbsp;year.  The school had supplied Ayala with anti-lice shampoo several times, but the
problem&nbsp;kept&nbsp;recurring.

		On August 30, 2007, Amelia Chavez returned to Ayala's home.  She spoke with
Ayala's mother, as Ayala was once again not there.  Ayala's mother denied that Centeno Patino had
been staying in the home, but B.M. stated that he had been.  Chavez observed that the utilities had
been restored but the cockroach infestation had not been resolved.  She also observed several fist-sized holes in the walls.  B.M. stated that Centeno Patino had made them, and I.M. demonstrated
how by pretending to punch the walls.  Chavez observed that A.M.'s scalp was severely infested with
lice.  She also observed that other than an old car seat, nothing in the house indicated that Ayala had
prepared for J.C.'s homecoming from the hospital.

		In light of all these issues, the Department filed a petition on September 5, 2007
seeking temporary managing conservatorship of Ayala's children.  After a hearing, the district court
granted the petition and also ordered Ayala to (1) submit to psychological testing; (2) submit to drug
testing; (3) participate in and successfully complete parenting classes and protective parenting
classes; (4) participate in and successfully complete individual therapy; and (5) secure and maintain
stable housing and employment.  The order also appointed CASA (Court Appointed Special
Advocates) the children's guardian ad litem and allowed Ayala two hours' supervised visitation per
week with the children.  The children were placed with foster families.

		The court subsequently held permanency hearings in February, June, and October of
2008, see Tex. Fam. Code Ann. §§ 263.301-.307 (West Supp. 2009), each time concluding that the
Department should remain the children's managing conservator.  Ayala eventually requested a jury
trial, and one was held between January 26 and February 3, 2009.  The evidence introduced at trial
is discussed below.  At the conclusion of the trial, Ayala asked the court to submit jury questions
concerning conservatorship in the event that the jury found her parental rights should not be
terminated.  The court refused, instead submitting only questions concerning termination, and the
jury found that Ayala's relationship with her children should be terminated in the children's best
interest.  Accordingly, the court issued the termination decree that Ayala now appeals.


STANDARD OF REVIEW

		We review the trial court's submission of jury questions under an abuse-of-discretion
standard.  Rosell v. Central W. Motor Stages, Inc., 89 S.W.3d 643, 653 (Tex. App.--Dallas 2002,
pet. denied).  The trial court has broad discretion in submitting jury questions, subject only to the
limitation that controlling issues of fact must be submitted to the jury.  Id. (citing Wright Way
Constr. Co. v. Harlingen Mall Co., 799 S.W.2d 415, 422 (Tex. App.--Corpus Christi 1990,
writ&nbsp;denied) (op. on reh'g)).   

		A court may terminate parental rights based on findings by clear and convincing
evidence that (1) a parent has committed any of several statutory bases for termination and
(2)&nbsp;termination is in the best interest of the child.  In re C.H., 89 S.W.3d 17, 23 (Tex. 2002); see Tex.
Fam. Code Ann. §§ 161.001-.007 (West 2008 &amp; Supp. 2009); Holley v. Adams, 544 S.W.2d 367,
370-72 (Tex. 1976).  Clear and convincing evidence is "the measure or degree of proof that will
produce in the mind of the trier of fact a firm belief or conviction as to the truth of the allegations
sought to be established."  Tex. Fam. Code Ann. § 101.007 (West 2008); see In re G.M., 596 S.W.2d
846, 847 (Tex. 1980).

		In a legal-sufficiency review of a finding terminating parental rights, an appellate
court reviews all the evidence in the light most favorable to the finding to determine whether a
reasonable trier of fact could have formed a firm belief or conviction that its finding was true.  In re
J.F.C., 96 S.W.3d 256, 266 (Tex. 2002).  To give appropriate deference to the fact-finder's
conclusions and the role of a court conducting a legal-sufficiency review, a reviewing court must
assume that the fact-finder resolved disputed facts in favor of its finding if a reasonable fact-finder
could do so.  Id.  An appellate court disregards all evidence that a reasonable fact-finder could have
disbelieved or found to have been incredible. Id.

		In a factual-sufficiency review of a finding terminating parental rights, the inquiry is
whether the evidence is such that a fact-finder could reasonably form a firm belief or conviction
about the truth of the petitioner's allegations.  Id.  A court of appeals must give due consideration
to evidence that the fact-finder could reasonably have found to be clear and convincing.  Id.  A court
of appeals should consider whether disputed evidence is such that a reasonable fact-finder could not
have resolved that disputed evidence in favor of its finding.  Id.  If, in light of the entire record, the
disputed evidence that a reasonable fact-finder could not have credited in favor of the finding is so
significant that a fact-finder could not reasonably have formed a firm belief or conviction, then the
evidence is factually insufficient.  Id.


DISCUSSION

Submission of Jury Questions Concerning Conservatorship

		In her first issue, Ayala contends that the trial court erred by refusing to submit jury
questions concerning conservatorship.  She argues that Texas Family Code sections 105.002,
153.005, and 153.372 gave her the right to have the jury consider naming her a conservator in lieu
of terminating her parental rights altogether. She also argues that the trial court's error was harmful
because "[o]ffering conservatorship to the jury as an alternative to termination would have provided
the jury with a less draconian option when deliberating a final verdict." 

		We disagree.  The controlling question in this case was whether Ayala's parental
rights should be terminated.  See Texas Dep't of Human Servs. v. E.B., 802 S.W.2d 647, 649
(Tex.&nbsp;1990); In the Interest of J.T.G., 121 S.W.3d 117, 129 (Tex. App.--Fort Worth 2003, no pet.)
("In parental termination cases, the controlling question is whether the relationship between the
parent and each child should be terminated.").  The trial court "asked the controlling question," so
it did not abuse its discretion by refusing to submit additional questions.   E.B., 802 S.W.2d at 649. 
We overrule Ayala's first issue.


Legal and Factual Sufficiency

		In her second through seventh points of error, Ayala contends that the evidence was
legally and factually insufficient to support termination.  

		Termination of parental rights requires two findings:  first, that the parent engaged
in one or more statutorily proscribed behaviors, and second, that termination is in the children's best
interest.  See Tex. Fam. Code § 161.001.  In this case, the jury found that Ayala satisfied the former
requirement two ways:  (1) by knowingly placing or allowing her children to remain in conditions
or surroundings which endangered their physical or emotional well-being, id. § 161.001(1)(D), and
(2) by engaging in conduct or knowingly placing the children with persons who engaged in conduct
that endangered their physical or emotional well-being, id. § 161.001(1)(E).  The jury separately
found that termination was in the children's best interest.  Id. § 161.001(2).  Our task is to determine
whether there was legally and factually sufficient evidence to support these findings.

		We hold that there was.  On the issue of the children's best interest, the Department
presented testimony from the following witnesses:



  William Dubin, a psychologist who evaluated Ayala in September 2007 (shortly after
the Department became her children's temporary managing consevator);
  Amelia Chavez, a Department investigator;

  Helen Williams, a child and family counselor who worked with Ayala between
September 2007 and August 2008;

  Amanda Gerdes, a parent trainer who worked with Ayala from October 2008 until
a week before trial;

  Tammy Linseisen, a parenting coach who worked with Ayala and her children
between July and September of 2008;

  Jennifer Wertz, a CASA volunteer who worked with Ayala and her children from
October 2007 to July of 2008; and

   Lindsay Tubbs, a Department conservatorship worker who was assigned to Ayala's
case starting in September 2007.




These witnesses all opined unequivocally that terminating Ayala's parental rights was in the
children's best interest. (5)  They based their opinions on many factors, including psychological testing
of Ayala and her children; observation of Ayala and her children; visits to Ayala's home; Ayala's
lack of progress in counseling and parent-education endeavors; Ayala's inability to obtain
employment or improve her financial situation; Ayala's lack of a healthy, stable family-support
structure; and the children's rapid improvements, both physical and cognitive, once they were
placed&nbsp;in foster care. 

		On the issue of Ayala's involvement in statutorily proscribed behaviors that
endangered the children, the Department's witnesses testified to the following:


  B.M. and A.M. had chronic lice problems that Ayala did not remedy despite
receiving treatment supplies and guidance;
  Ayala's home had no utilities for multiple stretches of time, and the toilets were filled
with human waste;

  Ayala did not clean her children's clothes regularly;

  Ayala made virtually no preparations for the arrival of J.C., who had health problems
that required electricity (to power a breathing machine) and sanitary conditions at
home;

  B.M. missed over 40 days of school in the year leading up to her removal;

  Ayala's primary backup caretaker, her mother, had her own history of being reported
to the Department for endangering her children;

  Ayala's home was chaotic and dangerous; her boyfriend was arrested multiple times
for assaulting her, and the police were called out to the residence regularly;

  Ayala repeatedly violated her safety plans by allowing her boyfriend and extended
family into her home;

  Ayala's children were exposed to or witnessed sexual activity between Ayala and her
boyfriend, and B.M. acted out sexually while in foster care;

  Ayala did not have steady work and made no earnest efforts to acquire it while the
children were in foster care;

  B.M., I.M., and A.M. were all diagnosed with post-traumatic stress disorder and
impaired levels of cognitive function; and

  Shortly before trial, Ayala gave birth to a fifth child, further limiting the attention and
resources she could devote to her four existing children.




In addition, the professionals and experts called by the Department all agreed that even though Ayala
underwent extensive counseling and parental education after her children were taken from her, she
lacked the cognitive capacity to change her parenting habits. (6)  Thus, there was evidence not only that
Ayala had exposed her children to harm, but also that she was incapable of providing a better
environment for them in the future.

		Ayala did not present significant evidence to the contrary.  While she testified that
she loved her children and was determined to provide them a healthier environment, she provided
no evidence that she had not actually endangered her children or that she would be able to provide
them a better environment in the future. (7)  It is not surprising, therefore, that Ayala's appellate brief
does not cite the record even once in attempting to argue that termination was improper.

		In sum, the Department presented significant evidence to support findings in favor
of termination, and Ayala presented little evidence to the contrary.  Thus, we hold that the evidence
was legally and factually sufficient to support a finding that Ayala's parental rights should be
terminated.  In re J.F.C., 96 S.W.3d at 266.  We overrule Ayala's second through seventh issues.


CONCLUSION

		For the reasons stated above, we affirm the decree terminating Ayala's parental rights.


						__________________________________________

						David Puryear, Justice

Before Justices Patterson, Puryear and Henson

Affirmed

Filed:   September 16, 2010
1.   The initial emergency call to police indicated that Torres had been stabbed by her
boyfriend, but Torres and Ayala subsequently claimed that Torres had stabbed herself.
2.   Centeno Patino was, in fact, arrested multiple times for assaulting Ayala.
3.   A "safety plan" is a "checklist used to assess risk and identify actions to increase safety for
victims."  Website of the Texas Attorney General, http://www.oag.state.tx.us/victims/acp.shtml (last
visited Aug. 19, 2010).
4.   J.C. required an extended hospital stay after his birth because he was born with a
breathing&nbsp;defect.   
5.   Ryan Miller, a CASA supervisor whom Ayala called as an adverse witness, also opined
unequivocally that terminating Ayala's parental rights was in the children's best interest.
6.   Dr. Dubin testified that Ayala had mild mental retardation and a personality disorder, both
of which were essentially untreatable.
7.   At the time of trial Ayala had a new apartment, but it was too small (200 square feet) to
house five children.  She also had no income and no concrete plans as to how she was going to
provide and care for her children if they were returned to her.


